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                                                                              11

                                                                              12                               UNITED STATES DISTRICT COURT

                                                                              13                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                              14

                                                                              15 IGUAÇU, INC.,                                 Case No. C 09-0380 RS (NMC)

                                                                              16                 Plaintiff,                    PLAINTIFF IGUAÇU, INC.’S REPLY IN
                                                                                                                               SUPPORT OF MOTION FOR PARTIAL
                                                                              17         v.                                    SUMMARY JUDGMENT

                                                                              18 ANTONIO CABRERA MANO FILHO,                   Date:    December 20, 2012
                                                                                                                               Time:    1:30 p.m.
                                                                              19                 Defendant.                    Dept.:   Courtroom 3, 17th Floor
                                                                                                                               Judge:   Honorable Richard Seeborg
                                                                              20

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                                                                                                                                               Case No.: C 09-0380 RS (NMC)
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                                                                               1 I.       INTRODUCTION

                                                                               2          Cabrera’s opposition memorandum (“Cabrera Opp.”) rehashes his inverted view of the

                                                                               3 transactions with ADM contained in his motion for summary judgment and likewise misses the

                                                                               4 point that the “economic reality” is that ADM only desired to purchase and did purchase quotas in

                                                                               5 LLCs (limitadas, under Brazilian law), and, conversely, neither desired to purchase nor did

                                                                               6 purchase shares in CCEAA/Limeira. While ADM provided the funds Cabrera needed to buy out

                                                                               7 the interests of his family members and lender (Bardana) in the entities that were to comprise the

                                                                               8 joint venture, there is zero evidence that this was done to avoid U.S. securities laws and there is no

                                                                               9 policy reason why Iguaçu, which had nothing to do with the structure, should be punished because
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                                                                              10 of how the buyer and seller decided to implement their joint venture.
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                                                                              11          Completely ignoring the previous statements of this Court on the central issue (“the more

                                                                              12 pertinent question is the degree to which ADM-Brazil, the buyer, obtained an interest that should

                                                                              13 be characterized as active, rather than passive”) in his defense, Cabrera now reverses course and
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                                                                              14 for the first time contends that he – a Brazilian citizen seeking investments in his Brazilian

                                                                              15 properties – is the intended beneficiary of the U.S. securities laws, and should be free to disavow

                                                                              16 his contractual obligations to Iguaçu based on a tortured construction of those laws. The position

                                                                              17 is absurd and is unsupported by any persuasive authority or logic. To the contrary, this case is a

                                                                              18 poster child for invocation of the doctrine of estoppel, or unjust enrichment to preclude invocation
                                                                              19 of Section 29(b) of the Securities Exchange Act (15 U.S.C. § 78 ccc(b)) by a seller who got

                                                                              20 everything he wanted from the purported “broker,” immediately decided to repudiate his

                                                                              21 obligations on no grounds whatsoever, and still later sought a legal loophole to justify his

                                                                              22 repudiation. Cabrera tries to justify his repudiation by pointing to Iguaçu’s alleged violations of

                                                                              23 FINRA standards – but this latest brainstorm finds no support in the pleadings or the law.

                                                                              24          Cabrera tellingly is silent on the core issue, and thereby tacitly accepts what he cannot

                                                                              25 dispute: that ADM and Cabrera entered into a joint venture in which both parties shared

                                                                              26 management and control of the LLCs/limitadas comprising the venture. ADM was not a passive

                                                                              27 investor in the LLCs and did not expect or need the protection of the U.S. or California securities

                                                                              28 laws, and Cabrera cannot belatedly invoke those laws to evade his contractual obligations.

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                                                                               1          There is no dispute as to the material facts and Iguaçu’s motion for partial summary

                                                                               2 judgment should be granted.

                                                                               3 II.      THE CCEAA/LIMEIRA TRANSACTION DID NOT INVOLVE THE SALE OF
                                                                                          SECURITIES TO ADM, EITHER IN FORM OR ECONOMIC SUBSTANCE
                                                                               4

                                                                               5          The parties agree on the essential facts: ADM desired to own quotas in Brazilian LLCs; in

                                                                               6 order to be able to sell ADM 49% of the quotas in CCEAA/Limeira, Cabrera first had to buy out

                                                                               7 the interest of a lender (Bardana) and convert the company from a sociedade anõnima (S.A.) to an

                                                                               8 LLC. Cabrera desired to have ADM provide the funds for the Bardana buyout, and ADM agreed

                                                                               9 to do so, provided that Cabrera (and his wife, who owned a tiny interest) would sell ADM 49% of
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                                                                              10 the quotas in the converted LLC. While it is true that ADM’s funds were used to pay Bardana for
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                                                                              11 its interests in CCEAA (see Cabrera Opp., at 4, fn. 3), ADM’s contract was with Cabrera, and he

                                                                              12 directed ADM to distribute a portion of the purchase price to the lender. (See Declaration of

                                                                              13 Constance J. Yu in support of Plaintiff’s Reply (“Yu Reply Decl.”), ¶¶ 2, 3, Exhs. K, L.)
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                                                                              14          Cabrera ignores this Court’s statements concerning the character of the transaction, which

                                                                              15 emphasized that in analyzing whether the interests purchased by ADM were “securities,” the

                                                                              16 Court should look to whether ADM “obtained an interest that should be characterized as active

                                                                              17 rather than passive.” (Order Denying Mot. for Recons., at 3:15-19, Dkt. # 177) (Exhibit B to

                                                                              18 Iguaçu MSJ Memo.; see Report and Recommendation 6-7, Dkt. # 91 (Exhibit A to Iguaçu MSJ
                                                                              19 Memo.); Order Adopting Report, Dkt. # 101; see also Report and Recommendation, at 4:12-13

                                                                              20 (“ADM-Brazil had an agreement to purchase quotas—a fact that Mr. Cabrera does not dispute.”).)

                                                                              21 He also ignores the testimony of Mr. Lastra, ADM’s senior executive, that ADM intended to enter

                                                                              22 into a joint venture with Cabrera, conducted a thorough investigation and analysis of the industrial

                                                                              23 and agricultural sides of the sugar and ethanol business, contracted for equal management rights in

                                                                              24 the joint venture entities, and that ADM actively participated in management. (Iguaçu MSJ

                                                                              25 Memo, at 3-4.) 1

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                                                                              27   1
                                                                                     Since Cabrera cannot answer the Court’s analysis or Mr. Lastra’s testimony, he simply asserts
                                                                                   (footnote continued)
                                                                              28

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                                                                               1          Cabrera rests his entire argument on the M&A West case, arguing that it establishes a broad

                                                                               2 rule that any multi-stage transaction must be “collapsed” down to its first and last stages for

                                                                               3 purposes of securities law analysis, so that, in economic substance, ADM purchased the stock

                                                                               4 interests of Bardana and Ms. Cabrera in CCEAA, and not quotas in the reorganized LLC.

                                                                               5 (Cabrera Opp., at 4-6.) The M&A West case, standing for the specific proposition that parties

                                                                               6 cannot convert an “affiliate” to a “nonaffiliate” as part of an integrated transaction so as to avoid

                                                                               7 the limitations of Rule 144, is entirely factually distinguishable from this case. Its more general

                                                                               8 proposition (that where an integrated multi-stage transaction is so structured to avoid the securities

                                                                               9 laws, the courts can “look through” the form to the substance), when applied to this case, compels
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                                                                              10 the conclusion that ADM purchased interests in a joint venture and not stock interests. 2
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                                                                              11          Here, unlike in M&A West, Iguaçu was not even a party to the challenged transaction and

                                                                              12 there is no allegation or evidence that the transaction structure had anything to do with the

                                                                              13 securities laws – much less with Iguaçu’s contractual relations with Cabrera. ADM plainly had no
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                                                                              14 interest in Iguaçu and Cabrera’s agreement, and it would be absurd to suggest that ADM did or

                                                                              15 would have even considered structuring its transaction around protection of Iguaçu or avoidance

                                                                              16 of U.S. securities laws. As far as the only participants to the transaction (ADM and Cabrera) were

                                                                              17 concerned, the economic reality of the transaction was that ADM desired to enter into a joint

                                                                              18 venture with Cabrera (not with Cabrera, his lender, his brother and his wife), and Cabrera likewise
                                                                              19

                                                                              20 that while he believes that the quota interests ultimately purchased by ADM were securities under
                                                                                 federal and state law “because this Court must consider the economic reality of the transaction as a
                                                                              21 whole, it is not necessary to set forth Defendant’s reasons for the purpose of this Motion.”

                                                                              22 (Cabrera Opp., at 8, n. 8; see also p. 11, fn. 20.)
                                                                                   2
                                                                                    Subsequent cases interpreting M&A West have applied its economic realities test to both similar
                                                                              23 and different sets of facts. See S.E.C. v. Platforms Wireless Intern. Corp., 617 F. 3d 1072, 1086
                                                                                 (9th Cir. 2010) (fact pattern similar to M&A West); S.E.C. v. Sierra Brokerage Services, Inc., 608
                                                                              24
                                                                                 F. Supp. 2d 923 (S.D. Ohio 2009). In Sierra Brokerage Services, the court held that the sale of
                                                                              25 securities preceding and following a reverse merger were not to be viewed in isolation, but rather
                                                                                 as a single transaction designed to culminate in public trading. Id. at 950. The court noted that the
                                                                              26 participants clearly intended the transactions to result in public trading and that certain “gift”
                                                                                 transactions were merely “preliminary links in the daisy-chain of [the defendant]’s overall plan.”
                                                                              27 Id.

                                                                              28

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                                                                               1 desired to be the only other member of the joint venture. For that to happen, Cabrera needed to

                                                                               2 buy out the other ownership interests, and he persuaded ADM to provide funding to make that

                                                                               3 possible. If we “follow the money,” as Cabrera now urges, it is clear that ADM was willing to pay

                                                                               4 Cabrera the agreed value of 49% of CCEAA and 80% of Jatai (and three new LLCs), and to have

                                                                               5 him use part of the purchase price to buy out his lender and partners because ADM did not wish to

                                                                               6 partner with Cabrera’s co-owners and or even to directly obtain their interests. In particular,

                                                                               7 Bardana was not even a party to any of the ADM-Cabrera agreements. (See Cabrera December 2,

                                                                               8 2008 Letter to ADM attached as Exh. L to Yu Reply Decl.; and see CCEAA Quota Purchase

                                                                               9 Agreement and Closing Memo., Exhs. C and D to previously-filed Yu Decl. (Dkt. # 234) at Dkt.
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                                                                              10 234-2, pp. 3 and 4 of 18 (Exh. C) and Dkt. #s 234-4 and 234-5 (Exh. D).)
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                                                                              11          Moreover, as noted in the Declaration of Leonardo Canabrava Turra in Support of Iguaçu’s

                                                                              12 MSJ Motion, ADM and Cabrera submitted the transaction for review by the Brazilian Antitrust

                                                                              13 Authority (“CADE”), which specifically authorized ADM to acquire 49% of the quotas in
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                                                                              14 CCEAA and 80% of the quotas in Jatai. (Canabrava Turra Decl., at ¶ 3; Dkt. # 232.) Plainly the

                                                                              15 Brazilian government – and the parties – recognized the transaction as a simple quota purchase

                                                                              16 and nothing else.

                                                                              17          Cabrera attempts to distinguish Slevin v. Pedersen Associates, Inc., 540 F. Supp. 437, 441

                                                                              18 (S.D.N.Y. 1982) since there the parties intended to enter into a partnership together, while here
                                                                              19 former owners of entities were bought out and had no post-closing role. (Cabrera Opp., at 7.) But

                                                                              20 here, as in Slevin, ADM and Cabrera intended to enter into a joint venture transaction (Lastra

                                                                              21 Depo., p. 30, previously filed at Dkt. # 234-1, p. 8 of 46) and there were no other “investors”

                                                                              22 needing protection who “cannot personally watch the managers of all his interests.” (450 F. Supp.

                                                                              23 at 441.) Cabrera likewise distinguishes Keith v. Black Diamond Advisors, Inc., 48 F. Supp. 2d

                                                                              24 326, 328 (S.D.N.Y. 1999), as irrelevant since it cannot “trump” M&A West and since it is

                                                                              25 supposedly irrelevant whether ADM and Cabrera shared management authority over the LLCs.

                                                                              26 (Cabrera Opp., at 8.) To the contrary, the intent (and reality) of ADM’s participation in

                                                                              27 management is the touchstone of securities analysis under both federal and state securities laws,

                                                                              28 and where both parties actively participate in management of a joint venture as is the case here, the

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                                                                               1 interests are not securities. (See Phillips v. Kaplus, 764 F.2d 807 (11th Cir. 1985), cert. denied,

                                                                               2 474 U.S. 1059 (1986) (joint venture held not to be a security); cf., Robinson v. Glynn, 349 F.3d

                                                                               3 166 (4th Cir. 2003) (members’ involvement in the business resulted in a finding that LLC interest

                                                                               4 was not a security).)

                                                                               5          Finally, responding to Iguaçu’s contention that the transfers of stock or quotas between

                                                                               6 Cabrera and the other former owners were entirely extraterritorial transactions, which would not

                                                                               7 be governed by U.S. securities law (Iguaçu Mot., at 10-11, fn. 4), Cabrera argues that “[t]he

                                                                               8 relevant purchase and sale is ADM’s purchase of securities from Mr. Cabrera and others.”

                                                                               9 (Cabrera Opp., at 7, n. 6.) Again, this ignores that the economic reality for ADM and Cabrera was
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                                                                              10 only what ADM ultimately purchased, not what Cabrera did with his partners to set up that
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                                                                              11 purchase. Cabrera has cited no federal (or state) authority holding or suggesting that U.S.

                                                                              12 securities laws would apply to transactions among Brazilian co-owners of the entities simply

                                                                              13 because a U.S.-based entity provided funding, and Morrison v. National Australia Bank Ltd., 130
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                                                                              14 S.Ct. 2869 (2010) strongly indicates that they would not apply.

                                                                              15 III.     THE QUOTAS IN JATAI PURCHASED BY ADM WERE NOT SECURITIES
                                                                                          UNDER FEDERAL LAW
                                                                              16

                                                                              17          Since Jatai was never an S.A., always a limitada, and since ADM indisputably purchased a

                                                                              18 controlling interest (80%) and exercised active management and control, Cabrera is reduced to
                                                                              19 arguing that the LLC interests he held prior to the closing were “passive” and gave him no

                                                                              20 management rights; thus, prior to the ADM purchase, “the interests that Mr. Cabrera held in Jatai

                                                                              21 were securities under federal law.” (Cabrera Opp., at 9.)

                                                                              22          Putting aside the inapplicability of U.S. securities laws to the relations between

                                                                              23 Mr. Cabrera and his brother before ADM became co-owner of Jatai, Cabrera again turns reality

                                                                              24 upside down to argue that because the interests he sold to ADM might have been characterized as

                                                                              25 “securities” prior to the closing, he should be able to disavow his obligations to Iguaçu, a non-

                                                                              26 party to the transaction. As discussed above, the argument flies in the face of the Court’s prior

                                                                              27 analysis and statements, not to mention the economic reality that ADM desired to purchase and

                                                                              28 did purchase interests that gave it the right to exercise joint management and that it actively

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                                                                               1 participated in management post-closing.

                                                                               2 IV.      THE CCEAA AND JATAI INTERESTS ARE NOT SECURITIES UNDER
                                                                                          CALIFORNIA LAW
                                                                               3

                                                                               4          Cabrera argues that California courts would follow his reading of M&A West and apply it

                                                                               5 here to find that ADM purchased securities as a matter of economic reality. (Cabrera Opp., at 11-

                                                                               6 12.) He also distinguishes the cases cited by Iguaçu as involving alleged “investment contracts,”

                                                                               7 whereas here the economic reality of the “transactions as a whole” was a sale of securities. (Id., at

                                                                               8 12.)

                                                                               9          For the reasons discussed above, the economic reality here was a sale of quotas in LLCs in
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                                                                              10 which both members – ADM and Cabrera – “are actively engaged in the management . . . ” (Cal.
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                                                                              11 Corp. Code § 25019.) The California cases cited by Iguaçu illustrate that active engagement in

                                                                              12 management is the touchstone of whether to characterize an interest as a security – and here the

                                                                              13 parties’ active management means that ADM did not purchase a security.
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                                                                              14 V.       CABRERA’S BELATED ATTEMPT TO INVOKE THE PROTECTIONS OF THE
                                                                                          SECURITIES LAWS IS MISPLACED
                                                                              15

                                                                              16          Cabrera does an about face and now argues that while ADM was powerful, knowledgeable

                                                                              17 and sophisticated enough to protect itself, he, on the other hand, “far more than ADM, needed the

                                                                              18 protection of the securities laws” against Iguaçu’s purported bad conduct. (Cabrera Opp., at 13-
                                                                              19 16.) He cites Eastside Church of Christ v. National Plan, Inc., 391 F.2d 357 (5th Cir. 1968) as

                                                                              20 holding that even where sellers of securities had chosen the broker, they were entitled to void the

                                                                              21 transactions since the broker was not properly registered. (Id., at 362.) Eastside Church is not on

                                                                              22 point. The court noted that the case “presents the not unusual question of which of the innocent

                                                                              23 parties . . . must bear a loss sustained through the defalcation of a third party with respect to

                                                                              24 church bonds.” (Id., at 359.) The unregistered broker who dealt in church bonds was held liable to

                                                                              25 return bonds it had purchased from a contractor acting on behalf of the church, since the contractor

                                                                              26 had failed to remit the proceeds to the church.

                                                                              27          Here, by contrast, Iguaçu did not buy or sell the alleged “securities,” and Cabrera will not

                                                                              28 “bear a loss” unless he is permitted to disavow the Finder’s Agreement. Cabrera does not seek to

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                                                                               1 void the quota purchase agreements, which established the transactions between ADM and

                                                                               2 Cabrera, but instead seeks to void the Finder’s Agreement, which did not involve transfers of

                                                                               3 interests or any other transactions prohibited by the securities laws. See Regional Properties, Inc.

                                                                               4 v. Financial and Real Estate Consulting Co., 678 F.2d 552, 559 (5th Cir. 1982) (a person can

                                                                               5 avoid a contract under section 29(b) if he can show that the contract involved a “prohibited

                                                                               6 transaction,” that he is in contractual privity with the defendant, and that he is “in the class of

                                                                               7 persons the Act was designed to protect.”) (emphasis added.) Further, under section 29(b) of the

                                                                               8 Securities Exchange Act, “only unlawful contracts may be rescinded, not unlawful transactions

                                                                               9 made pursuant to lawful contracts.” (Pompano-Windy City Partners, Ltd. v. Bear Stearns & Co.,
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                                                                              10 Inc., 794 F. Supp. 1265, 1288 (S.D.N.Y. 1992), quoting Zerman v. Jacobs, 510 F. Supp. 132, 135
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                                                                              11 (S.D.N.Y.), aff’d, 672 F.2d 901 (2d Cir. 1981).) The Finder's Agreement was not itself unlawful,

                                                                              12 since at the time it was executed, neither party had any way to know how any future transaction

                                                                              13 would be structured. Thus, Cabrera’s reliance on Eastside Church is entirely misplaced.
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                                                                              14          Cabrera accuses Iguaçu of “unscrupulous conduct concerning the Bardana investment in

                                                                              15 CCEAA,” reciting a pre-closing exchange of emails between Cabrera and Iguaçu’s CEO

                                                                              16 concerning the parties’ position as to whether Iguaçu should be entitled to a commission on ADM

                                                                              17 funds used to buy out Bardana’s interest. Iguaçu’s emails recommended that Cabrera not raise the

                                                                              18 issue with ADM, reassured him that Iguaçu’s commissions “are unlikely to exceed about one
                                                                              19 month of your dividends in a steady state,” and suggested he close the ADM deal, “assign Iguaçu

                                                                              20 [Finder’s] Agreement to ADM,” “and then work it out amicably.” (Cabrera Opp., at 14-15.)

                                                                              21 Cabrera baldly asserts that these actions would have violated FINRA rules requiring a member to

                                                                              22 “observe high standards of commercial honor and just and equitable principles of trade,” and

                                                                              23 prohibiting the use of any “manipulative, deceptive or other fraudulent device or contrivance” to

                                                                              24 induce the purchase or sale of any security (Id., at 15:19-16:2.)

                                                                              25          Contrary to Cabrera’s new argument, the potential commission of $627,000 (U.S.) on the

                                                                              26 ADM funds that Cabrera used to buy out Bardana is hardly shocking or unconscionable in light of

                                                                              27 the fact that ADM invested many multiples of that amount (hundreds of millions of U.S. dollars)

                                                                              28 purchasing interests in and developing the joint venture and its entities. It is particularly ironic for

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                                                                               1 Cabrera now to suggest that “Apparently, Iguaçu’s idea of ‘working it out amicably’ is to bring

                                                                               2 this lawsuit,” after Cabrera completely repudiated the Finder’s Agreement, leaving Iguaçu no

                                                                               3 choice but to initiate litigation, then fought against having to appear in the action until Iguaçu

                                                                               4 finally obtained a conditional Right to Attach Order. As the Ninth Circuit noted in Royal Air

                                                                               5 Properties, Inc. v. Smith, 312 F.2d 210, 213-14 (9th Cir. 1962) (“The purpose of the Securities

                                                                               6 Exchange Act is to protect the innocent investor, not one who loses his innocence and then waits

                                                                               7 to see how his investment turns out before he decides to invoke the provisions of the Act.”); see

                                                                               8 also Western Federal Corp. v. Erickson, 739 F.2d 1439, 1443, fn. 5 (9th Cir. 1984) (“An innocent

                                                                               9 party may sue under § 29(b) to rescind a contract, subject to such equitable defenses as waiver and
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                                                                              10 estoppel.”)
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                                                                              11 VI.        CONCLUSION

                                                                              12            For the reasons discussed above, Iguaçu’s motion for partial summary judgment must be

                                                                              13 granted.
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                                                                              14 DATED: December 6, 2012                      Respectfully submitted,

                                                                              15                                              FITZGERALD ABBOTT & BEARDSLEY LLP
                                                                                                                              Robert R. Cross
                                                                              16

                                                                              17                                              SIDEMAN & BANCROFT LLP
                                                                                                                              Constance J. Yu
                                                                              18                                              Ellen P. Liu

                                                                              19

                                                                              20
                                                                                                                              By:          /s/ Constance J. Yu
                                                                              21                                                    Constance J. Yu
                                                                                                                                    Attorneys for Plaintiff
                                                                              22                                                    IGUAÇU, INC.
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                                                                                                                                  8                  Case No.: C 09-0380 RS (NMC)
                                                                                                 IGUAÇU’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
